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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



NOE VAZQUEZ,

                  Petitioner,

v.                                                     CASES NO. 4:11cr37-RH/CAS
                                                                 4:12cr04-RH/CAS

UNITED STATES,

                  Respondent.

_____________________________/


                                  ORDER DENYING PETITIONS


         These related cases are before the court on the magistrate judge’s reports and

recommendations, ECF No. 21 in Case No. 4:12cr04 and ECF No. 500 in Case No.

4:11cr37. No objections have been filed, perhaps because the petitioner Noe

Vasquez has not received the reports and recommendations. The clerk mailed Mr.

Vasquez’s copies to the address shown on the petitions—a detention center—but

the copies were returned as undeliverable with a notation that Mr. Vasquez has

been released. Mr. Vasquez has not filed a notice of his new address.

         Mr. Vasquez asserts he pled guilty after his attorney rendered ineffective

assistance by failing to inform Mr. Vasquez that his plea could result in his

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deportation. The reports and recommendations conclude that Mr. Vasquez is not

entitled to coram nobis relief and that the petitions thus should be denied. That is

correct. If Mr. Vasquez is entitled to relief at all, he must pursue it under 28

U.S.C. § 2255. The coram nobis petitions cannot properly be treated as § 2255

motions without notice to—and approval from—Mr. Vasquez.

          When information suggests that a defendant’s immigration status could be

affected by a guilty plea, my routine practice is to discuss this with the defendant

during the plea proceeding. Mr. Vasquez’s plea proceeding has not been

transcribed, and I do not remember at this time whether I so advised him. If this

was indeed discussed during the plea proceeding, it seems unlikely that Mr.

Vasquez will be entitled to relief. But either way, Mr. Vasquez is not entitled to

coram nobis relief. He may file a timely § 2255 motion if he so chooses.

          For these reasons,

          IT IS ORDERED:

          The reports and recommendations are ACCEPTED and adopted as the

court’s further opinion. The clerk must enter judgment in each case stating, “The

petition for a writ of error coram nobis is DENIED.” The clerk must close each

file.

          SO ORDERED on November 20, 2012.

                                                  s/Robert L. Hinkle
                                                  United States District Judge

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